Case 9:20-cv-81205-RAR Document 1392 Entered on FLSD Docket 09/02/2022 Page 1 of 4




                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO.: 20-CV-81205-RAR

   SECURITIES AND EXCHANGE
   COMMISSION,

            Plaintiff,

   v.

   COMPLETE BUSINESS SOLUTIONS
   GROUP, INC. d/b/a PAR FUNDING, et al.

         Defendants.
   ______________________________________/

                  RECEIVER’S STATUS REPORT REGARDING WHETHER
                 THE LITIGATION STAY SHOULD REMAIN IN PLACE FOR
              CLAIMS AGAINST ECKERT SEAMANS AND/OR JOHN PAUCIULO

            The Receiver respectfully submits this status report in response to the Court’s Paperless

   Order dated August 26, 2022 [ECF No. 1383], in which the Court denied Defendant Dean

   Vagnozzi’s Motion to Refer Dispute to Settlement Conference before Magistrate Judge Bruce E.

   Reinhart Concerning Prosecution of Legal Malpractice Claims against Eckert Seamans and John

   Pauciulo [ECF No. 1348].

        As an initial matter, the Receiver agrees that the litigation stay should now be lifted in any case

   against Eckert Seamans and/or John W. Pauciulo in which a Receivership Entity is not a party. On

   this basis, the Receiver agrees that the litigation stay, currently in place in the following cases,

   should be lifted insofar as the parties have not named or will not seek to join as a party any

   Receivership Entity:

        •   Caputo, et al. v. Vagnozzi et al., No. 1:20-cv-01042 (D. Del. 2020);

        •   Melchior v. Vagnozzi, et al., No. 20-5562 (E.D. Pa. 2020);

        •   Montgomery, et al. v. Eckert Seamans Cherin & Mellott, LLC et al., No. 1:20-cv-23750
            (S.D. Fla. 2020);


                                                     -1-
Case 9:20-cv-81205-RAR Document 1392 Entered on FLSD Docket 09/02/2022 Page 2 of 4




      •   Parker, et al. v. Pauciulo et al., No. 20-00892 (Phila. Ct. Com. Pl. 2020);

      •   Dean Vagnozzi v. Pauciulo, et al., No. 210402115 (Phila Ct. Com. Pl. 2020);

      •   Albert Vagnozzi, et al., v. Pauciulo, et al., No. 210502334 (Phila Ct. Com. Pl. 2020); and

      •   Legacy Advisory Group, Inc. et al. v. Pauciulo, et al., No. 211001003 (Phila Ct. Com. Pl.
          2021).

          To the extent that discovery is sought of any Receivership Entity in the cases listed above,

   the Receiver will cooperate in a reasonable manner, while taking into consideration the cost to the

   Receivership Estate of any such discovery and its proportionality to the needs of the case. The

   Receiver reserves the right to seek appropriate relief from the forum court or this Court if he

   reasonably believes that the discovery is unduly burdensome, expensive, or disproportionate to the

   needs of the case.

          With respect to the Receiver’s contemplated action against Eckert Seamans and/or Mr.

   Pauciulo, the Receiver previously has reported that counsel for Eckert Seamans and Mr. Pauciulo

   have declined to discuss resolution at this time. They have indicated that it would be important

   for their clients to know the total amount of disgorgement and penalties the Court assesses against

   the Defendants in this action before their clients would be in a position to discuss a potential

   resolution of the Receiver’s claims against Eckert Seamans and Mr. Pauciulo. On this basis, the

   Receiver respectfully requests that the litigation stay between any Receivership Entity and

   Eckert/Pauciulo remain in place for sixty (60) days following entry of the disgorgement/penalties

   Order. This period will allow the Receiver and Eckert/Pauciulo an opportunity to attempt to

   resolve the Receiver’s claims without the expense of a suit. At the end of this period, the Receiver

   anticipates that he will either report that he has resolved the Receivership Estate’s claims against

   Eckert/Pauciulo, or move the Court for permission to lift the litigation injunction to pursue claims



                                                  -2-
Case 9:20-cv-81205-RAR Document 1392 Entered on FLSD Docket 09/02/2022 Page 3 of 4




   against Eckert/Pauciulo at that time, and, if the motion is granted, to file suit contemporaneously

   with entry of the Order.

   Dated: September 2, 2022                             Respectfully Submitted,

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                                                  -3-
Case 9:20-cv-81205-RAR Document 1392 Entered on FLSD Docket 09/02/2022 Page 4 of 4




                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on September 2, 2022, I electronically filed the foregoing

   document with the clerk of the Court using CM/ECF. I also certify that the foregoing document is

   being served this day on counsel of record via transmission of Notices of Electronic Filing

   generated by CM/ECF.

                                                      /s/ Timothy A. Kolaya
                                                      TIMOTHY A. KOLAYA




                                                -4-
